                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


                                                   )
BRIAN D. WILCOX and                                )
RAYLENE WILCOX                                     )
                                                   )
v.                                                 )      NO. 3:09cv1039
                                                   )      JUDGE NIXON
                                                   )
THE TRAVELERS INDEMNITY                            )
COMPANY OF AMERICA                                 )


                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 6/28/2011.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Tina M. Webster, Deputy Clerk




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